                                                                        ORDER: Motion GRANTED.



                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )              No.     3:02-cr-00128-7
       v.                                     )
                                              )
EDGAR OMAR GARCIA                             )

                                    MOTION TO DISMISS

       The United States of America, by and through Donald Q. Cochran, United States

Attorney for the Middle District of Tennessee, and Assistant United States Attorney Brent A.

Hannafan, hereby moves to dismiss this case with prejudice against defendant Garcia.

       This case was indicted in 2002. This Court administratively closed the case against

defendant in April 2017. The United States does not have any information on defendant’s

location, does not expect he will be arrested in the near future, and would face challenges in

prosecuting this defendant at trial due to the lapse in time since indictment. Given those

circumstances, the United States hereby moves to dismiss this case with prejudice.

                                                     Respectfully submitted,


                                                     DONALD Q. COCHRAN
                                                     United States Attorney
                                                     Middle District of Tennessee

                                                      /s Brent A. Hannafan
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